Case 14-26409-JNP       Doc 45    Filed 03/26/19 Entered 03/26/19 13:14:14               Desc Main
                                  Document     Page 1 of 2



 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-2(c)
                                                                     Order Filed on March 26, 2019
 Jonathan Schwalb, Esq.                                             by Clerk U.S. Bankruptcy Court
                                                                        District of New Jersey
 Friedman Vartolo LLP
 85 Broad Street, Suite 501
 New York, New York 10004
 Attorneys for SN
               BSIServicing
                   Financial Corporation
                             Services as Servicer
                                         as Servicer
                                                  for for
                                                      US
 SRP 2013-3,
 Bank  Trust NA
              LLC
                as Trustee of the SCIG Series III Trust
 P: (212) 471-5100
 Bankruptcy@FriedmanVartolo.com
 IN RE:                                                     CASE NO.: 14-26409
 Mark R. Tucci                                              CHAPTER: 13
 RobertAnne
 Mary   A. D’Angelo
            P. Tucci
                                                            HON. JUDGE.:
 Debtors                                                    Jerrold N. Poslusny Jr.
 Debtors
                                                            HEARING DATE:
                                                            MARCH 26, 2019 AT 10:00 AM

                         ORDER VACATING AUTOMATIC STAY

       The relief set forth on the following page numbered two (2) is hereby ORDERED.




 DATED: March 26, 2019
Case 14-26409-JNP         Doc 45     Filed 03/26/19 Entered 03/26/19 13:14:14                Desc Main
                                     Document     Page 2 of 2



        Upon the motion of BSI Financial Services as Servicer for US Bank Trust NA as Trustee
of the SCIG Series III Trust, on behalf of its successors and/or assigns (hereinafter collectively
“Secured Creditor” and/or “Movant”) under Bankruptcy Code section 362(d) for relief from the
automatic stay as to certain property as hereinafter set forth, and for cause shown, it is


        ORDERED that the automatic stay of Bankruptcy Code Section 362(a) is vacated to
permit the Movant to institute or resume and prosecute to conclusion one or more actions in the
court(s) of appropriate jurisdiction to pursue the movant's rights in the following:


        [x] Real property commonly known and more fully described as: 102 Summit Avenue,
Laurel Springs, NJ 08021


        ORDERED that the movant may join the debtor and any trustee appointed in this case as
defendants in its action(s) irrespective of any conversation to any other chapter of the
Bankruptcy Code; and it is further


        ORDERED, that the stay afforded by 11 U.S.C. §362(a) be, and is hereby, modified to
permit BSI Financial Services as Servicer for US Bank Trust NA as Trustee of the SCIG Series
III Trust, it’s successors and/or assigns, to pursue its rights under applicable state law with
respect to the premises 102 Summit Avenue, Laurel Springs, NJ 08021; and it is further


        ORDERED, that the instant order is binding in the event of a conversion; and it is further


        ORDERED, that the trustee be informed of any surplus monies resulting from the sale of
the collateral.


        ORDERED, that the movant shall serve this order on the debtor, any trustee, and any
other party who entered an appearance on the motion.
